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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

  ME2 Productions, Inc., and             Case No.: 1:17-cv-00320-RLP
  Venice PI, LLC
                                         (Copyright)
                  Plaintiffs,
     vs.                                 DEFENDANTS
                                         DRAGON MEDIA, INC. AND
  Dragon Media, Inc. d/b/a Dragon Box,   PAUL CHRISTOFORO’S
  Paul Christoforo, John Doe, and Jev    OPPOSITION TO PLAINTIFFS’
  Balubar                                MOTION FOR LEAVE TO FILE
                                         FOURTH AMENDED
                       Defendants.       COMPLAINT [61];
                                         DECLARATION OF ERIC
                                         SEELEMAN; EXHIBITS A-B;
                                         CERTIFICATE OF SERVICE
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      DEFENDANTS DRAGON MEDIA, INC. AND PAUL CHRISTOFORO’S
        OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                 FOURTH AMENDED COMPLAINT [61]


        I.     Introduction

        In this action, Plaintiff ME2 Productions, Inc. (hereafter: “ME2”) originally

  filed claims in July 2017 against twenty unknown “Doe” defendants who it alleged

  installed and used BitTorrent software on their computer and then used that

  software to participate in a in a BitTorrent Swarm to distribute its copyrighted

  work. Since that time, consistent with their strategy of using the threat of litigation

  to demand settlements below the cost of a defense, Plaintiffs dismissed all claims

  against the original parties to the case or based upon the factual nexus that

  allegedly bound them together.

        Now, eight months later, and on a request to file a Fourth Amended

  Complaint, ME2 and second plaintiff Venice PI, LLC1 (hereafter: “Venice”) (ME2

  and Venice referred to sometimes below collectively as “Plaintiffs”) seek leave of

  the court to file a pleading that will abandon any claims against the original 20

  “Doe” Defendants and removes their allegations relating to the BitTorrent software

  and swarms that were the factual nexus between them, and instead recasts its case

  as one against Defendants Dragon Media, Inc. and Paul Christoforo (collectively

  1
   Venice was added to the case via ME2’s original amendment to the pleadings.
  See First Amended Complaint dated November 22, 2017 [Dkt. No. 28].

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  the “Dragon Defendants”), alleging that the California corporation that distributed

  hardware allegedly used by consumers to stream Plaintiffs’ works via completely

  different software.

        As such, Plaintiffs’ proposed amendment improperly stretches the pleadings

  in this case beyond the limits of joinder allowed under the Federal Rules, and

  should therefore be denied as futile.

        II.    Procedural History and Relevant Facts

        ME2 originally filed its claims on July 9, 2017 against twenty unknown

  “Doe” defendants who installed and used BitTorrent software on their computer

  and then used that software to participate in “a Swarm That Was Distributing the

  Plaintiff [ME2]’s Copyrighted Work.” [Dkt. No. 1] Complaint at ¶¶ 19, 30-43.

        Importantly, ME2 alleged that joinder of these many different defendants

  was appropriate pursuant to FRCP 20(a)(2) because “(a) each of the Defendants is

  jointly and severally liable for the infringing activities of each of the other

  Defendants; (b) the infringement complained of herein by each of the Defendants

  was part of a series of transactions over the course of a relatively short period of

  time, involving the exact same piece of the Plaintiff’s copyrighted Work, and was

  accomplished by the Defendants acting in concert with each other; and (c) there are

  common questions of law and fact.” [Dkt. No. 1] Complaint at ¶ 10.




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        On July 11, 2017, ME2 received leave to serve discovery to serve third party

  subpoenas to uncover the identity of the “Doe” defendants. [Dkt. No. 10.].

        Also in 2017, Plaintiff’s counsel was quoted in local news coverage

  regarding the copyright infringement claims he had brought on behalf of movie

  production clients. See Exhibits A, B. A news report from April 2017, predating

  this action, confirmed that Mr. Culpepper had already “filed lawsuits against more

  than a 100 [sic] Hawaii residents” that had downloaded movies to their computer

  on behalf of movie production companies, and that “Almost all of the Hawaii cases

  settled anonymously, through the bootleggers’ attorneys.” Ex. A. Mr. Culpepper

  was further quoted as saying that although the “method of tracking the IP address

  is proving successful,” it was “time consuming.” Id.

        Another article from August 2017, following ME2 receiving permission to

  serve third party subpoenas to uncover the Doe defendants in the original

  complaint, reports that Mr. Culpepper had “subpoenaed internet service providers

  to identify customers at IP addresses he tracked down” and then sent a letter to 72

  year old John J. Harding alleging that Culpepper had “evidence that Harding's IP

  address is attached to more than 1,000 illegal downloads.” Based on this,

  Culpepper stated that “Our firm is authorized to accept the sum of $3,900 as full

  settlement for our client's claims. This offer will expire on 7/31/2017. Thereafter,

  our client will accept no less than the sum of $4,900 to settle this matter, but this


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  increased settlement offer will expire on 8/7/2017.” Ex. B. Mr. Harding “said he

  is being wrongfully accused of illegally downloading movies on the internet,

  including pornography,” but also “said he doesn't want to hire an attorney because

  of expenses.” Id.

        Following its third party discovery, ME2 dismissed all but one of the Doe

  defendants in the original complaint. It dismissed without prejudice “Doe”

  defendants Nos. 9, 13, 15, 17, 19 and 20 on October 17, 2017 [Dkt. No. 19], “Doe”

  defendants Nos. 5, 6, 8, 10 and 12 on November 15, 2017 [Dkt. No. 24] and “Doe”

  defendants Nos. 1, 3, 7, 11, 14 and 16 on November 22, 2017 [Dkt. No. 27]. ME2

  also dismissed with prejudice “Doe” defendant No. 18 on November 20, 2017

  [Dkt. No. 25] and “Doe” defendant No. 4 on November 22, 2017 [Dkt. No. 26].

  As a result, only ME2’s BitTorrent claims against Doe 2 remained at issue in this

  action.

        Also on November 22, 2017, ME2 filed a First Amended Complaint, joining

  second plaintiff Venice and alleging claims solely against Defendant Jeb Balubar

  (apparently formerly identified as defendant Doe 2). [Dkt. No. 28]. This First

  Amended Complaint alleged that Balubar used BitTorrent to copy “the constituent

  elements of the registered Works” owned by ME2 and Venice without

  authorization (Id. at ¶ 61) and to participate in the BitTorrent swarms for each such

  work and thereby “induced, caused or materially contributed to the infringing


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  conduct of” others that also made infringing copies of Plaintiffs’ works (Id. at ¶

  68). In order to support the joinder of Venice as the second plaintiff, the Plaintiffs

  alleged that “the Plaintiffs assert: (a) a right to relief arising out of the same

  transaction, occurrence, or series or transactions, namely the use of BitTorrent at

  the Defendant’s IP address; and (b) that there are common questions of law and

  fact. The Defendant used the same internet service, the same BitTorrent client

  applications and same hardware devices to download and distribute each of

  Plaintiffs’ motion pictures in the same way.” Id. at ¶ 23.

        Since that filing, Plaintiffs have further amended the complaint twice. First,

  Plaintiffs received leave to file a Second Amended Complaint on December 12,

  2017, amending to correct the legal name of Mr. Balubar. [Dkt. Nos. 34, 35]. They

  then received leave to file a Third Amended Complaint on January 17, 2018, which

  for the first time brought claims against the Dragon Defendants. [Dkt. Nos. 37, 38].

  Plaintiffs then dismissed without prejudice their claims against Balubar on

  February 9, 2018. [Dkt. No. 45]. Dragon Defendants then filed a motion to

  dismiss the Third Amended Complaint on February 14, 2018. [Dkt. No. 48].

  Plaintiffs opposed that motion [Dkt. No. 60] and then filed their perfunctory

  motion for leave to file a Fourth Amended Complaint, asserting that it may moot

  the pending motion to dismiss [Dkt. No. 61].




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        III.   ARGUMENT

        Ordinarily, a court should “freely give leave [to amend] when justice so

  requires.” Fed. R. Civ. P. Rule 15(a)(2). Such leave “is properly denied, however,

  if amendment would be futile” or subject to dismissal. See, e.g., Carrico v. City &

  Cty. of San Francisco, 656 F.3d 1002, 1008 (9th Cir. 2011). A district court's

  discretion to deny leave to amend is “particularly broad” where the plaintiff has

  previously amended. Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir.

  2013).

        Pursuant to 28 U.S.C. § 1367, a district court only has “supplemental

  jurisdiction over all other claims that are so related to claims in the action within

  such original jurisdiction that they form part of the same case or controversy,” or

  over claims brought by a plaintiff against persons properly made parties “under

  Rule 14, 19, 20, or 24 of the Federal Rules of Civil Procedure.” 28 U.S.C.

  §1367(a)-(b).

        Under Federal Rule of Civil Procedure 20, a defendant may be joined to

  other defendants in one action where “(A) any right to relief is asserted against

  them jointly, severally, or in the alternative with respect to or arising out of the

  same transaction, occurrence, or series of transactions or occurrences; and (B) any

  question of law or fact common to all defendants will arise in the action.” Fed. R.

  Civ. P. Rule 20(a)(2).


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        Specifically, in the context of allegations of online copyright infringement,

  Courts routinely dismiss claims against multiple defendants where their “alleged

  conduct was not part of the same transaction or occurrence” as the lead defendant.

  See, e.g. Patrick Collins, Inc. v. John Does 1 through 34, No. 3:12-CV-1474-GPC-

  BGS, 2013 WL 593445, at *4 (S.D. Cal. Feb. 13, 2013) (recapping 9th Circuit

  cases finding that BitTorrent swarm allegations alone are insufficient to meet

  requirements for joinder under FRCP 20(a)(2) and concluding “that the interests of

  avoiding undue prejudice and jury confusion, as well as judicial efficiency and

  fundamental fairness, are better served by severing these defendants [other than

  Doe 1] and requiring Plaintiff to file separate cases against each defendant

  individually.”); Malibu Media v. John Does 1–10, No. 12–CV–3623 (C.D. Cal.

  June 27, 2012) (No. 7) (dismissing improperly joined defendants and admonishing

  that “The federal courts are not cogs in a plaintiff’s copyright-enforcement

  business model. The Court will not idly watch what is essentially an extortion

  scheme, for a case that plaintiff has no intention of bringing to trial. By requiring

  Malibu to file separate lawsuits for each of the Doe Defendants, Malibu will have

  to expend additional resources to obtain a nuisance-value settlement — making

  this type of litigation less profitable. If Malibu desires to vindicate its copyright

  rights, it must do it the old-fashioned way and earn it.”).




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        Here, Plaintiffs application for leave to file its Fourth Amended Complaint

  admits on its face that the new pleading completely abandons the BitTorrent

  swarm allegations that were the “transaction or occurrence” underlying its basis for

  joinder of multiple defendants in its original complaint. Moreover, Plaintiffs have

  already dismissed their claims against each of the original 20 defendants in the

  case alleged to be part of the BitTorrent swarm transmitting ME2’s work.

        Instead, the new pleading brings wholly different claims of infringement

  based on alleged contributory infringement via “streaming” of works by devices

  distributed by Dragon Media, Inc. Not only is there not a sufficient factual nexus

  to connect the Dragon Defendants to the original swarm at issue in the action, these

  claims against the Dragon Defendants raise completely different facts and legal

  theories than Plaintiffs’ first three pleadings. Having had the opportunity to amend

  before, there is no reason why plaintiffs should be allowed to continue to morph

  their case into one wholly divorced from the original complaint in claims and

  parties. Plaintiffs’ attempt to turn this court into a cog in its copyright enforcement

  business model should not be tolerated.

        IV.    CONCLUSION

        For the foregoing reasons, Dragon Defendants respectfully request that the

  Court deny Plaintiff’s request for leave to file their Fourth Amended Complaint.




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       DATED: Honolulu, Hawai’i March 26, 2018.

                              Respectfully Submitted,

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